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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE:       FEMA TRAILER                    *   MDL NO. 1873
             FORMALDEHYDE PRODUCTS *
             LIABILITY LITIGATION            *   SECTION “N” (5)
                                             *
                                             *   JUDGE ENGELHARDT
                                             *   MAGISTRATE CHASEZ
                                             *
THIS DOCUMENT PERTAINS TO                    *
                                             *
CIVIL CASE NOS. 09-7792, 09-7793, 09-7794, *
09-7795, 09-7796, 09-7797, 09-7798, 09-7799, *
09-7800, 09-7801, 09-7802, 09-7803, 09-7804, *
09-7805, 09-7806, 09-7807, 09-7808, 09-7809, *
09-7810, 09-7811, 09-7812, 09-7813, 09-7814, *
09-7815, 09-7816, 09-7817, 09-7818, 09-7819, *
09-7820, 09-7821, 09-7822, 09-7823, 09-7824, *
09-7825, 09-7826, 09-7827, 09-7828, 09-7829, *
09-7830, 09-7831, 09-7832, 09-7833, 09-7834, *
09-7835, 09-7836, 09-7837, 09-7838, 09-7839, *
09-7840, 09-7841, 09-7842, 09-7843, 09-7844, *
09-7845, 09-7846, 09-7847, 09-7848, 09-7849, *
09-7850, 09-7851, 09-7852, 09-7853, 09-7854, *
09-7855, 09-7856, 09-7857, 09-7858, 09-7859, *
09-7887, 09-7889, 09-7890, 09-7891, 09-7892, *
09-7893, 09-7894, 09-7895, 09-7896, 09-7897, *
09-7898, 09-7899, 09-7903, 09-7904, 09-7905, *
09-7906, 09-7907, 09-7908, 09-7909, 09-7910, *
09-7911, 09-7912, 09-7913, 09-7914, 09-7916, *
09-7917, 09-7918, 09-7919, 09-7920, 09-7921, *
09-7922, 09-7924, 09-7925, 09-7960, 09-7961, *
09-7962, 09-7963, 09-7964, 09-7965, 09-7966, *
09-7967, 09-7971, 09-7972, 09-7973, 09-7974, *
09-7977, 09-7978, 09-7980, 09-7983, 09-7984, *
09-7987, 09-7990, 09-7991                    *

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                      NOTICE OF HEARING

TO:   ALL COUNSEL OF RECORD
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      IT IS HEREBY ORDERED that Plaintiffs’ Motion to Extend Time to Serve

Defendants, is hereby set for hearing on the 14th Day of July, 2010, at 9:30 a.m.

                                     Respectfully submitted,

                                     /s/ Robert C. Hilliard
                                     _____________________________
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                                     ATTORNEYS FOR PLAINTIFFS

                             CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading was served on all counsel
of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this 17th day of June, 2010.


                                         /s/ Robert C. Hilliard
                                         ____________________________
                                         ROBERT C. HILLIARD




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